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EXHIBIT A

Letter from Required Lenders under the Bridge Facility to
MLCC Agency Services dated April 26, 2010
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April 26, 2010

Merrill Lynch Capital Corporation, Agency Services

600 E. Las Colinas Blvd, Suite 1300 ,

““Trving, TX'75039 , “™ , “—
Telecopy No.: (972) 401-8555

Re: Tribune Company - $1,600,000,000 Senior Unsecured Interim Loan Agreement

To Whom it May Concer,

Reference is made to that certain $1,600,000,000 Senior Unsecured Interim Loan
Agreement, dated as of December 20, 2007, among Tribune Company, the tenders named
therein, Menill Lynch Capital Corporation, as administrative agent, JPMorgan Chase Bank,
N.A., as syndication agent, Citicorp North America, Inc. and Bank of America, N.A., as co-
documentation agents, and J.P. Morgan Securities Inc., Merrill Lynch & Co., Merrill Lynch,
Pierce, Fenner & Smith Incorporated, Citigroup Global Markets Inc. and Banc of America
Securities LLC, as joint lead arrangers and joint bookrunners (the “Bridge Loan Agreement”).
Capitalized terms-used but not defined herein have the meanings given them in the Bridge Loan
Apreement.

You are hereby notified that the undersigned (i) constitute the Required Lenders under
the Bridge Loan Agreement and (ii) are hereby removing you as Agent as of today pursuant to
Section 7.06 of the Bridge Loan Agreement. Please deliver the Register described in Section
' 8.07(d) of the Bridge Loan Agreement to the following address: Weils Fargo Bank, N.A., 2s
successor administrative agent, 625 Merquette Avenue, 11th Floor, Minneapolis, Minnesota
55402, Attn: David Bergstrom (Telecopy: (612) 667-9825).

Nothing in this letter shall be construed to waive any of the Lenders’ nghts or remedies
under the Bridge Loan Agreement, the other documents, agreements or instruments ‘related
thereto, or applicable law.
Case 08-13141-BLS Doc 6038-1 Filed 10/19/10

Yours trily,

KING STREET CAPITAL, LP.
a its Investment Manager a

By: King Stree! Capital Management GP, LAC.

WA

Name: Bruce 8, Daringer
Tile: Chief Operating Officer

Record Holdings: § £57 5 9¢ éf0.27

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Yours truly,

KING STREET ACQUISITION COMPANY, LL. Cc.

By: King Street Capital Management, LP. ——
Tis Manaper

By: King Street Capital Managemeut GP, L.L.C,
Its General Patiner

Record Holdings: $276: 27k, £90 77

Page 4 of 12

April 4, 2010
Case 08-13141-BLS Doc 6038-1 Filed 10/19/10 Page 5 of 12

April 26, 2010

Michael GC, Neuse"
General Counsel

Record Holdings: $_[' 4, doo 0Ou Ob

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April Z6, 2010

DEUTSCHE BANK AGNEW YORE BRANCH

Record Holdings: $ Be, CAS 886-1
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April 26, 2010

MARATHON SPECIAL OPPORTUNITY MASTER FUND LTD.
MARATHON CREDIT OPPORTUNITY MASTER FUND LTD.
MARATHON CREDIT MASTER FUND LTD,_

MARATHON CREDIT DISLOCATION FUND LP
CORPORATE DEST OPPORTUNITIES FUND LP.

PENTELI MASTER FUND LTD,

By: Marathon Assel Management L.P., its Investment Manager and Authorized Signatary

By LOUIS. HANOVER
Title: AUTHORIZED SIGNATOR

Record Holdings: $. 160, pnp vem ——

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AprilZG, 2010

SCOGGIN CAPITAL MANAGEMENT II LLC

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LISFENARD STREET CREDIT (MASTER), LTD.
By: DiMaip.Abmad Capital LL©, its investment advisor

7 y # ‘Cf
By ASL Tee eS
Title: “0g joc hey

Reoard Holdings: $ 55 _O9 5,238. H

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April 2, 2010

VAN KAMPEN SENIOR LOAN FUND
VAN KAMPEN SENIOR INCOME TRUST So
VAN KAMPEN DYNAMIC CREDIT OPPORTUNITIES FUND

ROBERT DROBNY
Executive Director .

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Aprildb, 2010

ZODIAC FUND — MORGAN STANLEY US SENIOR LOAN FUND
MORGAN BTANLEY PRIME INCOME TRUST

By: wef cs enn Inc. as Investment Adviser
iyo

By: ‘/ _ ROBERT DROBNY
Pie / Executive Director
Retord Holdings: $ 13,593,073.59*

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April &, 2010

